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                                                                                                United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                          IN THE UNITED STATES BANKRUPTCY COURT                                       August 16, 2021
                            FOR THE SOUTHERN DISTRICT OF TEXAS                                       Nathan Ochsner, Clerk
                                     HOUSTON DIVISION

    In re:                                                       CHAPTER 11

    LIMETREE BAY SERVICES, LLC, et al. 1                         CASE NO.: 21-32351

               Debtors.                                          Jointly Administered
                                                                    (Docket No. 411)

     AMENDED THIRD INTERIM ORDER (I) AUTHORIZING THE DEBTORS TO (A)
    OBTAIN POSTPETITION SENIOR SECURED SUPERPRIORITY FINANCING AND
      (B) USE CASH COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO
    PREPETITION SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
    (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) of the above-captioned debtors and debtors in possession

(the “Debtors”), the court enters this Amended Order (the “Third Interim Order”) extending the

terms of the (i) Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition Senior

Secured Superpriority Financing and (B) Use Cash Collateral, (II) Granting Adequate Protection

to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final

Hearing, and (V) Granting Related Relief, dated July 14, 2021 (Docket No. 104) (the “First Interim

Order”); and the (ii) Second Interim Order (I) Authorizing the Debtors to (A) Obtain Postpetition

Senior Secured Superpriority Financing and (B) Use Cash Collateral, (II) Granting Adequate

Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a

Final Hearing, and (V) Granting Related Relief, dated August 2, 2021 (Docket No. 271) (the




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree
Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
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“Second Interim Order,” and together with the First Interim Order, the “Prior Interim Orders”)2

with respect to the Debtors’ rights to use cash collateral through August 29, 2021, with the

following revisions:

           A.       In addition to the $5.5 million in postpetition financing previously authorized in the

First Interim Order and advanced in full to the Debtors, the Debtors are hereby authorized to (a)

obtain additional postpetition financing in an aggregate principal amount not to exceed $10 million

on an interim basis, pursuant to the terms of that certain DIP Credit Agreement, a copy of which

was attached to the First Interim Order as Exhibit A, as modified pursuant to the terms of that

certain First Amendment to Senior Secured Superpriority Debtor-In-Possession Credit Agreement,

a copy of which is attached hereto as Exhibit A (the “First Amendment”). The Debtors are

authorized to enter into the First Amendment.

           B.       Attached hereto as Exhibit B is the Debtors’ Approved Budget for the period from

August 9, 2021 through and including October 31, 2021. See First Interim Order ¶ N.

           C.       Notwithstanding paragraph 15(d) of the First Interim Order or anything contained

in the DIP Loan Documents, the Debtors’ failure to obtain entry of the Final Order shall not

constitute, or be deemed to cause, a Termination Event unless the Debtors fail to obtain entry of

the Final Order by September 3, 2021. Notwithstanding paragraphs 9(g) and 15(p) of the First

Interim Order, any breach of paragraph 9(g) of the First Interim Order with respect to a thirteen-

week budget is hereby waived and shall not constitute, or be deemed to cause, a Termination Event.

The requirements of Paragraph 9(g)(ii) of the First Interim Order are satisfied by the attached

Approved Budget.




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    Capitalized terms not otherwise defined herein shall have the meanings given to them in the Prior Interim Orders.



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       D.      Those certain Events of Default, Defaults, Termination Events, and/or Material

Adverse Effect that were alleged in the Reservation of Rights Letter filed at Docket No. 355, and

any other Events of Default, Defaults (as such term is defined in the DIP Credit Agreement),

Termination Events, and/or Material Adverse Effects of which the DIP Agent or any Lender (as

such term is defined in the DIP Credit Agreement) has knowledge as of the date hereof are deemed

cured and/or waived.

       E.      The DIP Lenders ratify and affirm that, as of the date of this Order, the aggregate

maximum outstanding principal amount of the DIP Loans, if fully advanced to the Borrower, will

be $25,000,000, and that, subject to the Borrower’s satisfaction of the conditions precedent set

forth in Section 4.02 of the DIP Credit Agreement, the remaining aggregate Commitment of the

DIP Lenders is $19,500,000. After giving effect to the First Amendment, none of the DIP Agent

or the DIP Secured Parties have any knowledge or notice of any Default or Event of Default which

would permit the DIP Agent or DIP Lenders to conclude that any of the conditions precedent set

forth in Section 4.02 have not been satisfied as of the date hereof. The DIP Lenders, and/or their

Administrative Agent (as that term is defined in the First Amendment), shall be entitled to a

$50,000 amendment fee on the terms provided in the First Amendment.

       F.      Notwithstanding anything to the contrary in Prior Interim Orders, the DIP Loan

Documents, or any Approved Budget, all accrued and unpaid professional fees and expenses of

the Ad Hoc Term Lender Group, the Term Administrative Agent, the Project Collateral Agent, the

Revolver Administrative Agent and J. Aron owed by the Debtors under paragraphs 8(b) and 9(a)

– (c) of the First Interim Order shall be included in the Carve-Out, subject to a total aggregate cap

of $1.3 million for the fees of such Prepetition Secured Parties; provided, that, for the avoidance




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of doubt, such cap is subject to further adjustment in connection with any further interim orders or

the Final Order, and all rights with respect thereto are preserved.

       G.      Resolution of Committee Issues.

               1.      On July 26, 2021, the U.S. Trustee appointed the Official Committee of

Unsecured Creditors in these Chapter 11 Cases [Docket No. 189] (the “Committee”).

               2.      In addition to counsel to the DIP Agent, the DIP Lenders, and the

Prepetition Agents, the Debtors shall deliver a copy of the Approved Budget to the Committee.

               3.      Notwithstanding paragraph 5 of the First Interim Order, the Committee

Investigation Budget shall be in an amount up to an aggregate cap of $200,000. Notwithstanding

paragraph 42 of the First Interim Order, all rights of the Committee to seek an extension of the

Challenge Period for purposes of the Final Order are preserved.

               4.      For the avoidance of doubt, the Carve-Out in paragraph 5(i) of the First

Interim Order includes all fees and expenses of bankruptcy professionals reflected as accrued in

the Budget. The Debtors will work in good faith with the Committee to establish a professional

fee escrow consistent with the Approved Budget and the Debtors’ liquidity needs.

               5.      Notwithstanding paragraphs 6 and 7(a) of the First Interim Order, until the

entry of the Final Order, the DIP Superpriority Claims and the DIP Liens shall not attach to or be

payable from the Unencumbered Assets (as defined below). Following entry of the Final Order,

the DIP Superpriority Claims and the DIP Liens shall attach to the proceeds of, or property

recovered in connection with, Unencumbered Assets, provided that such proceeds and property

shall only be used to satisfy the DIP Superpriority Claims and the DIP Liens, to the extent that all

other DIP Collateral is insufficient to satisfy the DIP Obligations in full.




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               6.      Notwithstanding paragraphs 9(a), 9(b) and 9(c) of the First Interim Order,

until the entry of the Final Order, (i) the adequate protection liens and security interests granted in

paragraphs 9(a)(1), 9(b)(1) and 9(c)(1) shall not attach to or be payable from Avoidance Actions,

Avoidance Proceeds, commercial tort claims, or the proceeds thereof (collectively, the

“Unencumbered Assets”) and (ii) the superpriority administrative claims granted in paragraphs

9(a)(4), 9(b)(4) and 9(c)(4) shall not attach to or be payable from the Unencumbered Assets.

Notwithstanding the Committee Investigation Budget or anything to the contrary in the First

Interim Order, nothing herein shall prevent the Committee from seeking approval of all fees and

expenses incurred by its professionals to be payable from the Unencumbered Assets.

               7.      Notwithstanding paragraph 9(a)(6) of the First Interim Order, the right to

credit bid the Prepetition Secured Obligations under the Prepetition Term Documents in

connection with any sale of Prepetition Debt Collateral shall be subject to section 363(k) of the

Bankruptcy Code.

               8.      Notwithstanding paragraph 9(b)(6) of the First Interim Order, the right to

credit bid the Prepetition Secured Obligations under the Revolver Transaction Documents in

connection with any sale of Prepetition Debt Collateral shall be subject to section 363(k) of the

Bankruptcy Code.

               9.      Notwithstanding paragraph 9(c)(6) of the First Interim Order, the right to

credit bid the prepetition obligations under the J. Aron Transaction Documents in connection with

any sale of Inventory Financing Collateral shall be subject to section 363(k) of the Bankruptcy

Code.

               10.     Notwithstanding paragraph 9(e) of the First Interim Order, the rights of the

Prepetition Secured Parties to credit bid their respective Prepetition Secured Obligations in




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connection with the sale of any of their respective Prepetition Collateral shall be subject to section

363(k) of the Bankruptcy Code.

               11.     The Debtors shall arrange Weekly Meetings with the Committee and its

advisors under paragraph 9(f) of the First Interim Order (which, for the avoidance of doubt, may

be conducted as separate calls for the Prepetition Secured Parties and the Committee). The

Committee’s professionals may reasonably request topics of discussion at the Weekly Meetings.

               12.     The Committee shall be entitled to the financial reporting and inspection

rights described more fully in paragraph 12 of the First Interim Order.

               13.     Notwithstanding paragraph 16(c) of the First Interim Order, the closing date

of a 363 Sale shall not constitute a Cash Collateral Termination Event.

               14.     Notwithstanding paragraph 19(b) of the First Interim Order, the DIP

Collateral and proceeds thereof, proceeds of the DIP Financing, and the Prepetition Collateral and

proceeds thereof may be used to investigate the actions described therein for the purposes

described in, and a manner consistent with, the terms of paragraph 42 of the First Interim Order.

               15.     Notwithstanding paragraph 26 of the First Interim Order, the Debtors shall

obtain the consent of the Committee before modifying the Approved Budget with respect to the

fees and expenses of the Committee professionals, which consent shall not be unreasonably

withheld or delayed, or unless such modification is otherwise approved by the Court.

               16.     Notwithstanding anything contained in paragraph 42 of the First Interim

Order:

                       (a)     for the avoidance of doubt, the Challenge and Challenge Period shall

not apply to any claims or causes of action of the Debtors with respect to the Insider Creditors;




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                       (b)    the Challenge Period will be tolled for the Committee if it formally

moves for an order of this Court conferring standing or authority (the “Standing Motion”) prior to

the Challenge Period, from the date the Committee so moves until five (5) business days from the

date that the Standing Motion is granted or the date when the Standing Motion is denied pursuant

to an Order of the Court; provided, that the Challenge Period: (i) will only be tolled if such

Standing Motion attaches a proposed complaint identifying the specific Challenge(s) that the

Committee proposes to assert and the defendant(s) against whom such Challenge(s) are proposed

to be asserted, and (ii) will only be tolled with respect to such Challenge(s) and defendant(s)

specifically identified therein. Nothing in the First Interim Order or herein shall limit the

Committee’s ability to (x) file a timely Standing Motion in respect of any timely Challenge for

which it cannot obtain standing as a matter of law because the applicable Debtor is a limited

liability company (an “LLC Challenge Motion”), and (y) seek pursuant to such LLC Challenge

Motion a mechanism by which to prosecute such Challenge, provided that the Committee

otherwise satisfies the requirements in paragraph 42(a) of the First Interim Order. In the event the

Committee files a timely LLC Challenge Motion for which it cannot obtain standing, and provided

that the Committee otherwise satisfies the requirements set forth in paragraph 42(a) of the First

Interim Order, the expiration of the Challenge Deadline solely for the specific Challenge set forth

in the LLC Challenge Motion, and solely as to the defendant(s) named therein, shall be tolled

pending further order of the Court, and applicable parties shall meet and confer with respect to an

appropriate process (if any) for the prosecution of any such Challenge. If timely notified of a

Challenge for which the Committee cannot gain standing because the applicable Debtor is a limited

liability company, the Debtors (or a designated representative) shall, to the extent permitted by




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applicable law, retain the authority to prosecute such Challenge in the exercise of their business

judgment and subject to any applicable further order of the Court.

                            (c)      Any Challenge, Standing Motion, or LLC Standing Motion

commenced by the Committee (the “Committee Action”) may be pursued by any chapter 7 trustee

in these Cases (a “Chapter 7 Trustee”), appointed subsequent to the filing of the Committee Action,

in the Trustee’s sole and exclusive discretion. The filing of a Notice of Substitution of Trustee for

and in the stead of the Committee in the Committee Action, shall be automatically effective upon

filing, without further Order of the Court, and the Chapter 7 Trustee shall be deemed automatically

substituted for the Committee, which substitution shall be deemed retroactive to the date of the

filing of the Committee Action.

           17.      Notwithstanding anything to the contrary in paragraph 49 of the First Interim

Order, (i) the Terminal Replacement Liens shall not attach to any Unencumbered Assets and

(ii) any superpriority administrative claims granted therein shall not attach to or be payable from

the Unencumbered Assets.

           H.       To the extent any of the Terminal Entities have Permitted Prior Liens on Product

or goods (as defined under the Uniform Commercial Code) or the proceeds thereof under the Non-

Included Locations TSA3 (the “Terminal Liens”), the Section 364(d)(1) Liens shall be junior to

the Terminal Liens on such property.

           I.       Resolution of Objection by the United States of America.




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    As that term is defined in the Objection and Reservation of Rights of Terminal Entities to Debtors’ Emergency
      Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain Post-Petition Financing, (II)
      Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Claims with Superpriority
      Administrative Expense Status, (IV) Approving Adequate Protection to Pre-Petition Secured Creditors, (V)
      Modifying the Automatic Stay, and (VI) Scheduling a Final Hearing [Doc. No. 252].



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               1.      Notwithstanding anything to the contrary in the Prior Interim Orders, this

Third Interim Order or the DIP Loan Documents, nothing in this Third Interim Order, the Prior

Interim Orders or the DIP Loan Documents shall relieve the Debtors of any obligations under

federal, state, territorial, or local police or regulatory laws or under 28 U.S.C. § 959(b), provided

that nothing herein shall limit or impair the Debtors’ rights to assert defenses under applicable law

and nothing herein shall create new defenses to obligations under police or regulatory laws or 28

U.S.C. § 959(b).

               2.      Notwithstanding anything to the contrary in the Prior Interim Orders, this

Third Interim Order or the DIP Loan Documents, nothing in this Third Interim Order, the Prior

Interim Orders or the DIP Loan Documents shall impair or adversely affect the United States of

America’s rights, claims and defenses of set-off and recoupment, if any, or any of its agencies,

departments or agents, if any, and all such rights, claims and defenses, if any (the

“Setoff/Recoupment Rights”) shall be preserved in their entirety; provided, however, that the

exercise of any such Setoff/Recoupment Rights must be in accordance with the Bankruptcy Code,

Bankruptcy Rules, and Local Rules; provided further, however, that (a) exercise of such

Setoff/Recoupment Rights shall not impair or adversely affect the rights of the DIP Secured Parties

and the Prepetition Secured Parties, as applicable, to assert remedies (if any) with respect to any

Event of Default or Cash Collateral Termination Event, as applicable, in the event any such

governmental unit exercises any such Setoff/Recoupment Rights, (b) nothing in this paragraph

shall limit the right of any party in interest to challenge the Setoff/Recoupment Rights of any such

governmental unit, and (c) nothing in the Prior Interim Orders, this Third Interim Order, or the

DIP Loan Documents shall modify or determine the rights or priority of any governmental unit’s

Setoff/Recoupment Rights vis-à-vis the rights and liens of the DIP Secured Parties and the




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Prepetition Secured Parties, as applicable, and all rights of the governmental units and the DIP

Secured Parties and Prepetition Secured Parties with respect to the determination of such rights or

priority (to the extent such priority is a disputed issue) are preserved.

               3.      With respect to environmental liabilities to any governmental unit, to the

extent that the actions of the DIP Secured Parties or Prepetition Secured Parties constitute, within

the meaning of 42 U.S.C. § 9601(20)(F) and (G), actual participation in the management or

operational functions of a vessel or facility owned or operated by the Debtors, the rights of such

governmental unit under applicable laws are preserved, and all rights of the DIP Secured Parties

and the Prepetition Secured Parties to contest such liability or status under applicable law are

preserved. For the avoidance of doubt, in determining to make any loan or other extension of

credit under the DIP Credit Agreement, permitting the use of Cash Collateral, performing under

the Prior Interim Orders, the Third Interim Order and the DIP Loan Documents in the ordinary

course, no DIP Secured Party or Prepetition Secured Party shall be deemed to have participated in

the management or operational functions of a vessel or facility owned or operated by the Debtors,

or to have otherwise caused lender liability to arise or assumed the status of control, responsible

person, owner, or operator provided, however, that participating in management within the

meaning of 42 U.S.C. § 9601(20)(F) and (G) would not be ordinary course performance.

               4.      Within one business day of any modification to the Approved Budget, the

Debtors must provide notice of the modified budget to the United States by e-mail through its

counsel.

       J.      Reservation of Rights of Universal Plant Services (VI), LLC AltairStrickland V.I.,

LLC, Vivot Equipment Corporation and Virgin Islands Industrial Services, LLC. Notwithstanding

anything in this Third Interim Order indicating to the contrary, nothing in this Third Interim Order




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will change or otherwise modify the prepetition priority of (i) any statutory liens, and (ii) any other

rights and/or claims of Universal Plant Services (VI), LLC (“UPS”), AltairStrickland V.I. LLC

(“AltairStrickland”), Vivot Equipment Corporation (“Vivot”) and Virgin Islands Industrial

Services, LLC (“VIIS”) (collectively, the “Construction Lien Objectors”), whose rights, if any, are

hereby expressly preserved, except with respect to the DIP Liens granted to the DIP Secured

Parties under the circumstances set forth in this paragraph. To the extent that a Construction Lien

Objector has a lien on any DIP Collateral as of the Petition Date that is valid, enforceable,

nonavoidable, and perfected, including as permitted by section 546(b) of the Bankruptcy Code,

and such lien (or any amount owed associated with such lien) was senior in priority to any of the

Prepetition Secured Parties Liens, such lien shall be treated as a Permitted Prior Lien and shall not

be junior in priority to the DIP Liens or subordinated to any other liens created under this Order,

including adequate protection liens granted to any party. The Construction Lien Objectors reserve

their rights and nothing in this Third Interim Order limits their rights, if any, to request adequate

protection equal to the diminution in value of their interest in collateral, if any, or seek other legal

and equitable remedies with respect to the Debtors’ assets. Each of the Debtors, the DIP Secured

Parties, and the Prepetition Secured Parties’ rights to contest or otherwise object to such request

or exercise of legal or equitable remedies or to any assertion of liens, interest or other claims of

the Construction Lien Objectors are hereby reserved.

        K.      Hearing Date. The Final Hearing shall occur on August 27, 2021 at 10:00 a.m.

prevailing Central Time. The Debtors shall file proposed revised terms for obtaining additional

credit and use of cash collateral following expiration of this Third Interim Order, if any, by August

24, 2021 at 3:00 p.m. prevailing Central Time. Objections and responses to such proposed relief

shall be due by August 26, 2021 at noon prevailing Central Time.




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       L.     Except as otherwise set forth herein, all terms and provisions of the Prior Interim

Orders remain unchanged and in full force and effect.

       M.     This Third Interim Order is immediately valid, effective and enforceable upon the

date signed by the Court and entered on the docket in the Chapter 11 Cases.


     Signed:
 Signed      August
        on August __, 16, 2021.
                      2021.                _____________________________________
                                           David R. Jones
                                           UNITED____________________________________
                                                    STATES BANKRUPTCY JUDGE
                                                    DAVID R. JONES
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                Exhibit A to Order

First Amendment to Senior Secured Superpriority Debtor-In-Possession Credit Agreement
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     FIRST AMENDMENT TO SENIOR SECURED SUPERPRIORITY DEBTOR IN
                   POSSESSION CREDIT AGREEMENT

               This FIRST AMENDMENT TO SENIOR SECURED SUPERPRIORITY DEBTOR
IN POSSESSION CREDIT AGREEMENT (“Amendment”), dated as of August 12, 2021 (the
“First Amendment Effective Date”), is entered into by and among LIMETREE BAY REFINING,
LLC, a U.S. Virgin Islands limited liability company (“Borrower”), LIMETREE BAY REFINING
HOLDINGS II, LLC, a U.S. Virgin Islands limited liability company (“Holdings”), LIMETREE
BAY SERVICES, LLC, a Delaware limited liability company (“LBS”), LIMETREE BAY
REFINING HOLDINGS LLC, a U.S. Virgin Islands limited liability company (“LBRH”),
LIMETREE BAY REFINING MARKETING LLC, a U.S. Virgin Islands limited liability company
(“LBRM”), LIMETREE BAY REFINING OPERATING LLC, a U.S. Virgin Islands limited
liability company (“LBRO”, and together with LBRM, LBRH, LBS and Holdings, the
“Guarantors”, and together with the Borrower, the “Borrower Parties”), the Lenders party to the
Credit Agreement described below, and 405 SENTINEL LLC, as administrative agent for the
Lenders (the “Administrative Agent”).

                                           RECITALS

               WHEREAS, Borrower, the Guarantors, the Lenders, the Administrative Agent and
certain other Persons are parties to the Senior Secured Superpriority Debtor In Possession Credit
Agreement, dated as of July 13, 2021 (as amended, supplemented, amended and restated or
otherwise modified from time to time, the “Credit Agreement”); and

             WHEREAS, the Borrower has requested that the Administrative Agent and the
Lenders amend the Credit Agreement in certain respects as set forth herein.

                NOW, THEREFORE, in consideration of the premises and the mutual covenants,
representations and warranties contained herein, and for other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, the parties hereto hereby agree as
follows:

                                         AGREEMENT

               Section 1.   Definitions. Capitalized terms used herein but not defined herein
shall have the meanings as given them in the Credit Agreement, unless the context otherwise
requires.

                Section 2.    Amendments to Credit Agreement. The following provisions shall be
effective upon the First Amendment Effective Date.

             (a)    Amendment of Section 1.1. Section 1.1 of the Credit Agreement is hereby
amended by adding the following definitions to such Section in appropriate alphabetical order:

              “First Interim DIP Order” means the first Interim DIP Order entered in the
Chapter 11 Cases on July 13, 2021.


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               “First Amendment” means the First Amendment to Senior Secured Superpriority
Debtor In Possession Credit Agreement dated as of August 12, 2021 among Borrower, the
Guarantors, the Lenders and the Administrative Agent.

              “Second Interim DIP Order” means the second Interim DIP Order entered in the
Chapter 11 Cases on August 2, 20201.

              “Third Interim DIP Order” means the third Interim DIP Order entered in the
Chapter 11 Cases on or about the date hereof.

              (b)    Amendment of Section 1.1. Section 1.1 of the Credit Agreement is
amended by deleting the definitions of “Fee Letter”, “Initial Commitment Period”, “Interim DIP
Order”, and “Maturity Date” and replacing them in their entirety with the following:

             “Fee Letter” means the letter agreement, dated on or about the Closing Date,
between the Borrower and the Administrative Agent, as amended restated, supplemented or
otherwise modified from time to time.

                 “Initial Commitment Period” means the period commencing on the date of entry
of the First Interim DIP Order and ending on the date of entry of the Final DIP Order.

               “Interim DIP Order” means, collectively, each order of the Bankruptcy Court
(including the First Interim Order, the Second Interim Order, and the Third Interim Order)
entered in the Chapter 11 Cases after an interim hearing under Rule 4001(c)(2) of the Federal
Rules of Bankruptcy Procedure in form and substance reasonably acceptable to the Required
Lenders and the Agent authorizing and approving, among other things, the DIP Facility on an
interim basis, the terms of this Agreement and the other Loan Documents on an interim basis,
and the granting of the Liens on the Collateral with the priority contemplated in this Agreement,
as the same may be amended, amended and restated, supplemented or otherwise modified from
time to time with the express consent of the Required Lenders.

                “Maturity Date” means earliest to occur of: (a) the date that is nine (9) months
after the date of entry of the First Interim DIP Order, (b) the date of the closing of a sale of all or
a material portion of the Borrower Parties’ assets under section 363 of the Bankruptcy Code, (c)
the effective date of any confirmed plan in the Chapter 11 Cases, (d) the filing of a motion or
other pleading requesting (or the entry of an order approving) the appointment of a trustee, other
estate fiduciary or an examiner with special or expanded powers which the Debtors fail to timely
oppose without the prior written consent of the Administrative Agent and the Lenders; (e) the
date of acceleration of the Advances or termination of the Commitment by the Required Lenders
or the Administrative Agent (at the direction of the Required Lenders) pursuant to Section 7.01
following an Event of Default; and (f) the occurrence of a Termination Event (as defined in the
DIP Order).

            “Milestones” has the meaning specified in Section 6.01(p), as amended by the
First Amendment.

              (c)    Amendment of Section 2.01(a). Section 2.01(a) of the Credit Agreement
is hereby amended and restated in its entirety to the following:

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                “(a) Subject to the terms and conditions set forth herein and in the DIP Order,
each Lender severally agrees to make advances of its Commitment (each an “Advance” and,
collectively, the “Advances”) from time to time on any Business Day during the Commitment
Period to the Borrower in an aggregate principal equal to its Pro Rata Share of the aggregate
Borrowing requested in each Funding Notice delivered under Section 2.02; provided that the
Advance to be made by each Lender shall not exceed, on the date of such Advance, such
Lender’s Available Commitment at such time (each, a “Borrowing” and collectively the
“Borrowings”); provided that, notwithstanding anything to the contrary herein, (x) during the
Initial Commitment Period, only two Borrowings of Advances shall be available to the
Borrower, and the aggregate principal amount of such Borrowings shall not exceed $15,500,000;
provided further that $5,500,000 shall be available upon entry of the First Initial DIP Order and
the additional $10,000,000 shall be available upon the effectiveness of the First Amendment; and
(y) upon and after the entry of the Final DIP Order, one or two additional Borrowings of
Advances shall be available to the Borrower and the aggregate principal amount of such
additional Borrowings shall not exceed $9,500,000; provided further that the aggregate principal
amount of Advances to be made by the Lenders shall not exceed $25,000,000; provided further
that the Lenders shall not be obligated to fund any Borrowing request if such disbursement
would result in the Borrower Parties’ pro-forma cash balance to exceed the Borrower Parties’
cash balance in the DIP Budget at such time by $5,000,000 or more during the thirty (30) day
period following the funding of the Borrowing requested in the Funding Notice, after giving pro
forma effect to any planned expenditures projected to be made over such period in accordance
with the DIP Budget. Amounts repaid under the DIP Facility may not be reborrowed.”

              (d)    Amendment of Section 2.02(a). Section 2.02(a) of the Credit Agreement
is hereby amended and restated in its entirety to the following:

                “(a) Whenever the Borrower desires to incur Advances hereunder, the
Borrower shall deliver the Funding Notice to the Administrative Agent not later than 12:00 p.m.,
New York City time (or such later time as may be required by the Administrative Agent or
acceptable to the Required Lenders), no less than three (3) Business Days (or such shorter period
as agreed by the Administrative Agent in its sole discretion) before the date of the proposed
Borrowing. Each such notice (the “Funding Notice”) shall be in writing, may be delivered by
telecopier or electronic communication, and shall be in substantially the form of Exhibit C,
specifying therein the requested (i) Funding Date as the date of such Borrowing and
(ii) aggregate amount of such Borrowing. The Funding Notice for the first Advance upon or after
the entry of the Interim DIP Order shall be in a principal amount of $5,500,000. The Funding
Notice for the Advance upon or after the effectiveness of the First Amendment shall be in a
principal amount of $10,000,000. Each subsequent Funding Notice for Advances upon or after
entry of the Final DIP Order shall be in a principal amount of $5,000,000 or more, unless the
aggregate of each Lender’s Available Commitment is less than $5,000,000, in which case the
request for Advances may be for the aggregate amount of each Lender’s Available Commitment.
Upon and after the entry of the Final DIP Order, the Borrower may not request more than two (2)
Advances in any ten (10) Business Day period.”

              (e)      Amendment of Section 6.01(k)(i). Section 6.01(k)(i) of the Credit
Agreement is hereby amended by deleting each reference to “Within 30 days of the Closing
Date” and replacing it with “Within 14 days of the date of the First Amendment,”

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                (f)   Amendment of Section 6.01(k)(ii). Section 6.01(k)(ii) of the Credit
Agreement is hereby amended by deleting each reference to “Within 30 days of the Closing
Date” and replacing it with “Within 30 days of the date on which Borrower’s counsel receives a
draft of the Pledge Agreement from DIP Agent’s counsel,”

               (g)    Amendment of Section 6.01(p)(ii). Section 6.01(p)(ii) of the Credit
Agreement is hereby amended by deleting “on or before the thirty-fifth (35th) day after the entry
of the Interim DIP Order” and replacing it with “the earlier of (i) September 17, 2021 or (ii) such
other date as may be provided for in a subsequent Interim DIP Order or amendment to the Third
Interim DIP Order.”

              (h)     Amendment of Section 7.01(p)(i). Section 7.01(p)(i) of the Credit
Agreement is hereby amended by deleting “the date that is forty-five (45) days after the Petition
Date” and replacing it with “the earlier of (i) September 17, 2021 or (ii) such other date as may
be provided for in a subsequent Interim DIP Order or amendment to the Third Interim DIP
Order.”

                Section 3.     Waiver. Counsel to the DIP Agent, Gray Reed, sent a letter to
counsel to the Loan Parties, Baker & Hostetler LLP, dated August 9, 2021, alleging the
occurrence of certain Events of Default, Defaults, and the occurrence of a Material Adverse
Effect said to arise from a change in the value of the Collateral, all as more particularly set forth
therein (the “DIP Agent Counsel’s Letter”). As provided in the Third Interim Order, the DIP
Agent and DIP Lenders waive any Default or Event of Default referred to, directly or indirectly,
in the DIP Agent Counsel’s Letter and further agree that, as of the date hereof, no Material
Adverse Effect has arisen due to any change in the value of the Collateral. The DIP Agent and
the DIP Lenders have no knowledge or notice of any Default or Event of Default after giving
effect to this Amendment and the Third Interim Order.

                Section 4.      Conditions Precedent. This Amendment shall be deemed effective
(subject to the conditions herein contained) as of the First Amendment Effective Date when the
Administrative Agent has received counterparts hereof duly executed by Borrower, the
Guarantors, the Administrative Agent and the Required Lenders and upon the prior or concurrent
satisfaction of each of the following conditions:

                (a)     the Administrative Agent shall have received for its own account, or for the
account of each Lender, as the case may be an amendment fee in the amount of $50,000.00, which
shall be payable either in cash by Borrower or by offsetting the proceeds of the Advance to be made
upon the effectiveness of this Amendment. For the avoidance of doubt, if such fee is being paid by
offsetting the proceeds of the Advance to be made upon the effectiveness of this Amendment, the
Administrative Agent will advance $9,950,000 to Borrower but Borrower will be deemed to have
received an Advance of $10,000,000. The Borrower shall not be responsible to the DIP Agent or any
Lender for the application of the proceeds of such amendment fee by the DIP Agent.

               (b)     the Administrative Agent shall have received for its own account, or for the
account of each Lender, as the case may be (i) all fees, costs and expenses due and payable pursuant
to Section 3.02 of the Credit Agreement, if any, and (ii) if then invoiced, any amounts payable
pursuant to Section 10.02 of the Credit Agreement;

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                (c)    after giving effect to the Interim DIP Orders and this Amendment, the
representations and warranties in Section 5 below are true and correct; and

               (d)    the Administrative Agent shall have received a certificate, dated as of the
date hereof, of a Responsible Officer of the Borrower certifying as to the matters described in
item (c) above.

               Section 5.     Representations and Warranties. Each of the Loan Parties hereby
represents and warrants that after giving effect to this Amendment and to the Third Interim DIP
Order:

                (a)      the representations and warranties of the Loan Parties contained in the Loan
Documents are true and correct in all material respects, other than those representations and
warranties that expressly relate solely to a specific earlier date, which shall remain correct in all
material respects as of such earlier date;

               (b)     the Loan Parties shall be in compliance with the terms of the Interim DIP
Order;

               (c)     no Material Adverse Effect has occurred since the Petition Date; and

               (d)     no Default or Event of Default has occurred and is continuing.

               Section 6.      Loan Document; Ratification.

               (a)     This Amendment is a Loan Document.

                (b)    Each Loan Party hereby ratifies, approves and confirms in every respect all
the terms, provisions, conditions and obligations of the Credit Agreement as amended hereby and
each of the other Loan Documents to which it is a party.

               (c)    In the event of any conflict between the terms of any Interim DIP Order
and the Credit Agreement (as amended hereby), the terms of the Interim DIP Order shall govern
and control. Without limiting the foregoing, no “Default” or “Event of Default” shall be deemed
to have occurred under the Credit Agreement if a corresponding “Termination Event” (as defined
in the DIP Orders) has been amended or waived pursuant to the terms of an DIP Order or other
order of the Bankruptcy Court.

                Section 7.      Costs and Expenses. As provided in Section 10.02 of the Credit
Agreement, Borrower agrees to reimburse Administrative Agent for all fees, costs, and expenses,
including the reasonable fees, costs, and expenses of counsel or other advisors for advice, assistance,
or other representation, in connection with this Amendment and any other agreements, documents,
instruments, releases, terminations or other collateral instruments delivered by the Administrative
Agent in connection with this Amendment.

               Section 8.      Incorporation of Certain Provisions by Reference. The provisions of
Sections 10.13 and 10.14 of the Credit Agreement captioned “Governing Law; Jurisdiction, Etc.” and
“Waiver of Jury Trial” are incorporated herein by reference, mutatus mutandis, for all purposes.

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                Section 9.     Severability. Any provision of this Amendment that is prohibited or
unenforceable in any jurisdiction shall, as to such provision and such jurisdiction, be ineffective to
the extent of such prohibition or unenforceability without invalidating the remaining provisions of
this Amendment or affecting the validity or enforceability of such provision in any other jurisdiction.

                Section 10.    Counterparts. This Amendment may be executed in any number of
counterparts, all of which taken together shall constitute one and the same instrument, and any party
hereto may execute this Amendment by signing one or more counterparts. Any signature hereto
delivered by a party by facsimile or electronic transmission shall be deemed to be an original
signature hereto.

                Section 11.     No Waiver. The execution, delivery and effectiveness of this
Amendment shall not operate as a waiver of any default of Borrower or any other Loan Party or any
right, power or remedy of the Administrative Agent or the other Secured Parties under any of the
Loan Documents, nor constitute a waiver of (or consent to departure from) any terms, provisions,
covenants, warranties or agreements of any of the Loan Documents. The parties hereto reserve the
right to exercise any rights and remedies available to them in connection with any present or future
defaults with respect to the Credit Agreement or any other provision of any Loan Document.

               Section 12.      Successors and Assigns. This Amendment shall be binding upon the
Loan Parties and their respective successors and permitted assigns and shall inure, together with all
rights and remedies of each Secured Party hereunder, to the benefit of each Secured Party and the
respective successors, transferees and assigns.

          Section 13. Entire Agreement. THIS AMENDMENT, THE CREDIT
AGREEMENT AND THE OTHER LOAN DOCUMENTS REPRESENT THE FINAL
AGREEMENT OF THE PARTIES WITH RESPECT TO THE SUBJECT MATTER HEREOF
AND MAY NOT BE CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS,
OR SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES.

               THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
PARTIES.

                                      (Signature Pages Follow)




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                 IN WITNESS WHEREOF, this Amendment is executed as of the date first
written above.

                                               BORROWER:

                                               LIMETREE BAY REFINING, LLC,
                                               a U.S. Virgin Islands limited liability company


                                               By:_______________________________________
                                               Name: Mark Shapiro
                                               Title: Chief Restructuring Officer




                                 [Signature page to First Amendment to
                  Senior Secured Superpriority Debtor in Possession Credit Agreement]
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                                    GUARANTORS:

                                    LIMETREE BAY REFINING HOLDINGS II,
                                    LLC,
                                    a U.S. Virgin Islands limited liability company


                                    By:_______________________________________
                                    Name: Mark Shapiro
                                    Title: Chief Restructuring Officer

                                    LIMETREE BAY SERVICES, LLC,
                                    a Delaware limited liability company


                                    By:_______________________________________
                                    Name: Mark Shapiro
                                    Title: Chief Restructuring Officer

                                    LIMETREE BAY REFINING HOLDINGS LLC,
                                    a U.S. Virgin Islands limited liability company


                                    By:_______________________________________
                                    Name: Mark Shapiro
                                    Title: Chief Restructuring Officer

                                    LIMETREE BAY REFINING MARKETING LLC,
                                    a U.S. Virgin Islands limited liability company


                                    By:_______________________________________
                                    Name: Mark Shapiro
                                    Title: Chief Restructuring Officer

                                    LIMETREE BAY REFINING OPERATING LLC,
                                    a U.S. Virgin Islands limited liability company


                                    By:_______________________________________
                                    Name: Mark Shapiro
                                    Title: Chief Restructuring Officer




                      [Signature page to First Amendment to
       Senior Secured Superpriority Debtor in Possession Credit Agreement]
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                                    ADMINISTRATIVE AGENT:

                                    405 SENTINEL LLC,
                                    a Delaware limited liability company


                                    By:_______________________________________
                                    Name: Lawrence Cutler
                                    Title: Authorized Signatory


                                    LENDER:

                                    405 SENTINEL LLC,
                                    a Delaware limited liability company


                                    By:_______________________________________
                                    Name: Lawrence Cutler
                                    Title: Authorized Signatory




                      [Signature page to First Amendment to
       Senior Secured Superpriority Debtor in Possession Credit Agreement]
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                                    Exhibit B to Order

Approved Budget for the period from August 9, 2021 through and including September 13, 2021




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Limetree Bay Refinery
Forecasted Results of Operations and Cash Flows
   Wks Beginning   8/9/21   thru    10/25/21

                                        Week ----->       5         6         7          8          9        10         11         12          13       14       15       16
                                   Beginning of Week    8/9/21   8/16/21   8/23/21    8/30/21     9/6/21   9/13/21    9/20/21    9/27/21    10/4/21 10/11/21 10/18/21 10/25/21          TOTAL
                                        End of Week    8/15/21   8/22/21   8/29/21     9/5/21    9/12/21   9/19/21    9/26/21    10/3/21    10/10/21 10/17/21 10/24/21 10/31/21
Cash Receipts
   BP                                     [1]          $   -     $   -     $   -      $   -      $   -     $   -      $   -      $   -      $    -     $   -      $    -     $   -      $    -
   Excess Construction Material           [2]              100       -         100        -          600       -          100        500         -         -           100       500       2,000
   Est. J. Aron Proceeds/Lien Release                      -         -         -          -          -         -          -          -        18,008       -        20,000       -        38,008
   Resale of Flushing Oil                                  -         -         -          -          -         -          560        -           -         -           -         -           560
   Insurance Proceeds - TBD                                -         -         -          -          -         -          -          -           -         -           -         -             -
   Sale of Spare Parts                                     -         -         -          -          -         -          -          -           -         -           -       2,500       2,500
   Asset Sale - TBD                       [3]              -         -         -          -          -         -          -          -           -         -           -         -             -
        Total       Cash Receipts                      $   100   $   -     $   100    $   -      $   600   $   -      $   660    $   500    $ 18,008   $   -      $ 20,100   $ 3,000    $ 43,068
Cash Disbursements
  Payroll / Benefits                                   $ 1,357   $   250   $ 1,268    $   311    $ 1,183   $     90   $ 1,144    $   -      $   156    $   -      $   -      $   -      $  5,759
  Fuel                                                     365       390       390        390        390       390        390        195        195        195        195        195       3,680
  Maintenance and Other Outside Services                   442       298       298        298        298       298          30         30         30         30         30         30      2,110
  Insurance                            [4]                 -         -         571        -          -         -          -          -          367        -          -          311       1,249
  IT Support / Software / Hardware                         -         195         10         88       185         10         10         86       185          20         10         59        858
  Environmental / Safety                                   -         184       -          -          184       -          -          -          184        -          -          -           552
  Admin / Site Services                                    185       582       146        146        146       548        146        146        146        548        146        146       3,027
  Relocation Costs                                         550       -         -        1,392        -         -          -          -          612        -          -          -         2,554
  Community Incident Response          [5]                 -         -         -          -          -         -          -          -          -          -          -          -            -
  Limetree Bay Terminal Services                           150       150       150        150        150       -          -          -          -          -          -          -           750
  EPA Mandated Expenditures                                106        30       -            30       -           30       -            30       -            30       -            30        286
  Utility Adequate Assurance Payment                       -         403       -          -          -         -          -          -          -          -          -          -           403
  Flare Repair                                             136        50       -          -          -         -          -          -          -          -          -          -           186
  Hydrocarbon Removal                  [6]                 407       660       310        310        660       310        310        310        310        310        310        310       4,519
        Total        Cash Disbursements                $ 3,698   $ 3,191   $ 3,142    $ 3,115    $ 3,195   $ 1,676    $ 2,029    $   797    $ 2,185    $ 1,133    $   691    $ 1,080    $ 25,932
                             Operating Cash Flow       $ (3,598) $ (3,191) $ (3,042) $ (3,115) $ (2,595) $ (1,676) $ (1,369) $       (297) $ 15,823    $ (1,133) $ 19,409    $ 1,920    $ 17,136
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Limetree Bay Refinery
Forecasted Results of Operations and Cash Flows
   Wks Beginning       8/9/21     thru    10/25/21

                                              Week ----->           5             6             7             8               9            10            11            12           13       14       15       16
                                         Beginning of Week        8/9/21       8/16/21       8/23/21       8/30/21          9/6/21       9/13/21       9/20/21       9/27/21     10/4/21 10/11/21 10/18/21 10/25/21                    TOTAL
                                              End of Week        8/15/21       8/22/21       8/29/21        9/5/21         9/12/21       9/19/21       9/26/21       10/3/21     10/10/21 10/17/21 10/24/21 10/31/21
Other (Sources) / Uses
   DIP Financing Costs                  [7]                      $        50   $      -      $      -      $      -        $        51   $      -      $      -      $    -      $      42    $      -      $      -      $ 1,035      $   1,179
   Insurance Claims Professionals                                       -             -             -                 50          -             -             -           -             50           -             -            50           150
   Term Lender Agent Fee                                                -               50          -             -               -             -             -           -            -             -             -          -               50
   Engineering Professionals (Turner Mason)                             -             -              75           -               -             -             -           -             75           -             -          -              150
        Total      Other (Sources) / Uses                                 50            50           75            50               51          -             -           -            167           -             -        1,085          1,529
            Net Cash Flow Before Professional Fees                   (3,648)       (3,241)       (3,117)       (3,165)         (2,646)       (1,676)       (1,369)       (297)       15,656       (1,133)       19,409         835     $ 15,608
Professional Fees
   Debtor Legal                                                  $      -      $      -      $      -      $     -         $     -       $      -      $      -      $    -      $   800      $     -       $     -       $   800      $   1,600
   DIP Lender Counsel                                                     50          -             -            -               200            -             -           -          200            -             -           200            650
   Debtor Chief Restructuring Officer                                   -             -             -            -               -              -             -           -          280            -             -           280            560
   UCC Legal and Financial Advisor                                      -             -             -            -               -              -             -           -          600            350           -           -              950
   Term Lender Professionals                                            -             -             -            -               -              -             -           -          250            -             -           -              250
   Independent Director                                                 -             -             -            -               -              -             -           -            15           -             -           -               15
   Revolver Counsel                                                     -             -             -            -               -              -             -           -          100            -             -           -              100
   US Trustee Fees                                                      -             -             -            -               -              -             -           -          -              -             250         -              250
   Investment Banker                                                    -             -             -            100             -              -             -           -          100            -             -           -              200
   BMC - Claims Agent                                                   -             -             -            -               -              -             -           -            50           -             -           -               50
        Total                                                    $        50   $      -      $      -      $     100       $     200     $      -      $      -      $    -      $ 2,395      $     350     $     250     $ 1,280      $   4,625
                                            Net Cash Flow        $ (3,698) $ (3,241) $ (3,117) $ (3,265) $ (2,846) $ (1,676) $ (1,369) $                                 (297) $ 13,261       $ (1,483) $ 19,159          $    (445) $ 10,983
                                               Accumulated       $    (3,698) $     (6,939) $ (10,056) $ (13,321) $ (16,167) $ (17,843) $ (19,213) $ (19,509) $                       (6,248) $    (7,731) $     11,428   $   10,983


                                Beginning Cash Balance           $      955 $ 7,257 $ 4,015 $    898 $ 5,633 $ 2,787 $ 1,111 $ 1,242 $   945                                                  $ 14,206 $ 12,723           $ 31,883
                                         Net Cash Flow               (3,698)  (3,241) (3,117) (3,265)  (2,846) (1,676) (1,369)  (297) 13,261                                                    (1,483) 19,159                (445)
                                              DIP Draw               10,000      -       -     8,000      -       -     1,500    -       -                                                         -        -                  -
                                         DIP (Paydown)                  -        -       -       -        -       -       -      -       -                                                         -        -              (25,000)
                           Ending Book Cash Balance              $ 7,257       $ 4,015       $    898      $ 5,633         $ 2,787       $ 1,111       $ 1,242       $    945    $ 14,206     $ 12,723      $ 31,883      $ 6,437      $   6,437
                                  Ending DIP Balance             $ 15,500      $ 15,500      $ 15,500      $ 23,500        $ 23,500      $ 23,500      $ 25,000      $ 25,000    $ 25,000     $ 25,000      $ 25,000      $   -        $      -

      Debtor Professional Fees Accrued (Cumulative) $ 1,558                    $ 1,869       $ 2,181       $ 2,492         $ 2,804       $ 3,115       $ 3,427       $ 3,738     $ 2,970      $ 3,282       $ 3,593       $ 2,825
       UCC Professional Fees Accrued (Cumulative) $     279                    $   371       $   464       $   557         $   650       $   743       $   836       $   929     $   421      $   164       $   257       $   350

   [1] - The Debtors have outstanding invoices to BP in the amount of approximately $32 million in respect of operational expenses incurred during the months of August 2020 through the present, under the Tolling Agreement. Such
   invoices are disputed by BP. These amounts are not included in the 12-week projection period as the CRO is currently investigating the validity of these outstanding amounts as well as the validity of any set-off claims.
   [2] - Additional $2.0 million in collections are projected after the 13-week period.
   [3] - USVI holds a letter of credit in the amount of $50 million split 50/50 between LB Terminals and LB Refining. Under the Operating Agreement such amounts can be used for payment defaults and environmental assurances.
   [4] - Existing premiums; coverages are currently under review with agents.
   [5] - Subject to mediation.
   [6] - More spend after this period anticipated in order to complete hydrocarbon removal. Budgeting currently in process.
   [7] - Assumes DIP Draws of $5.5 million on 7/12/2021, $10.0 million on 8/9/2021, $8.0 million on 8/30/2021, and $1.5 million on 9/20/2021, and DIP Repayments of $25.0 million on 10/25/2021. Assumes an annual cash interest rate
   of 3.0%, annual PIK interest rate of 9.0%, annual delayed draw interest of 1.5%, and an agent fee of 0.25% on the total commitment amount.
